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September 16, 2021

Via ECF
Honorable James J. Garrity, Jr.
U.S. Bankr. Ct. for the Southern Dist. of N.Y.
One Bowling Green
New York, NY 10004
               Re:    Piazza v. Oldner, et al., Adv. Pro. No. 21-01180 (JLG)
                      In re Orly Genger, Chapter 7 Case No. 19-13895 (JLG)
Dear Judge Garrity:

       This firm represents Sagi Genger in connection with the above-referenced adversary
proceeding. We write in response to yesterday’s letter (Doc. 6) from Mr. Cavaliere, counsel to
the Chapter 7 Trustee, in which he opposes an adjournment of the adversary proceeding.

       In his letter, Mr. Cavaliere writes that: “That action seeks to void the purported releases
… [which] expressly state that they release all claims of OGT’s ‘beneficiary’ – that is, Debtor’s
claims against them.” Mr. Cavaliere further writes that: “Sagi himself, moreover, admitted in
sworn testimony that he asked for the releases precisely because he wanted OGT to ‘close out’
Orly’s claims against him and their mother.” (Emphasis in original letter.)

        It is an ongoing frustration that the Chapter 7 Trustee and her counsel refuse to acquaint
themselves with the most basic facts of this case. Here, it is undisputed that the dismissed state
court claims to which the aforementioned testimony refers (and for which Orly’s right to appeal
has subsequently expired) were derivative claims brought not by Orly in her own stead but rather
expressly on behalf of D&K Limited Partnership and the Orly Genger 1993 Trust, each of which
is a separate estate over which the Chapter 7 estate has no control.

        Indeed, the Appellate Division, First Department held, in a prior appeal in the same case,
that those claims were “derivative claims that plaintiff asserts on behalf of Orly Trust.”
Genger v. Genger, 120 A.D.3d 1102, 1104 (1st Dep’t 2014) (emphasis added). Subsequently, at
the 2016 trial in that same action (which trial Orly went on to lose), her counsel, Michael Bowen,
had the following exchange with the bench:

       THE COURT:         As I understand it the plaintiff in this case is seeking money
                          on behalf of the trust and derivatively on … on behalf of
                          the corporation. …

       MR. BOWEN:         That’s correct, Judge. (Exh. A.)


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        As a matter of black-letter law, the trustee of a spendthrift trust may settle or release
claims that the trust owns without violating the automatic stay, even if the debtor is a beneficiary.
In In re Markel, 2001 WL 182579, *1 (Bankr. M.D. Fla. Sept. 5, 2001), for example, a debtor
moved to enjoin the trustee of a spendthrift trust, to which the debtor was a beneficiary, from
settling a litigation because that “the Trust property is part of his bankruptcy estate, and the
automatic stay prevents the trustee from settling the Claim.” The Bankruptcy Court disagreed
and rejected the debtor’s motion, holding that: “Trust interests are not property of a Debtor's
estate when the trust has a valid spendthrift provision.” Id. at *2.

       As the Court explained:

       Section 362(a)(3) … imposes an automatic stay upon “any act to obtain
       possession of property of the estate or of property from the estate or to exercise
       control over property of the estate.” … The Debtor’s one-third remainder interest
       in the Trust res is property of the Debtor’s estate, and not the actual property
       composing the Trust, i.e., the Claim. The automatic stay applies only to property
       of the estate. … The trustee may settle the Claim because it constitutes the res of
       the Trust and not the Debtor’s remainder interest in the Trust.

2001 WL 182579 at *2 (emphasis added). Here, as well, the only property of the Chapter 7
estate is Orly’s interest in her spendthrift trust. The derivative claims she brought against Sagi
on behalf of that trust are property of the trust and not the Chapter 7 estate, and consequently its
trustee, Mr. Oldner, may settle or release those claims.

        In sum, the Debtor’s adversary proceeding is completely frivolous, as it is premised on a
legal theory that is not warranted by existing law nor by a nonfrivolous argument for reversing
existing law, but rather is brought in disregard of a controlling First Department ruling. As such,
it would be counterproductive to divert the Court’s attention with this proceeding while far more
important motions in this bankruptcy case are sub judice.

       We thank the Court for its consideration.
                                                      Respectfully,


                                                      John Dellaportas
cc:    All Counsel of Record (via ECF)
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                                    EXHIBIT A
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ORLY GENGER v.                                                Pg 4 of 4             Rochelle Fang,
                                                                                    Rochelle Fang, Sagi
                                                                                                   Sagi Genger,
                                                                                                        Genger, Orly
                                                                                                                Orly Genger
                                                                                                                     Genger
DALIA GENGER ET AL.                                                                                                                     August 8, 2016
                                                                 Page 778                                                                      Page 780
                                                                                                                                               Page 780

 1
 1             Ms. O.
               Ms.       Genger -- Cross/Mr.
                     0. Genger      Cross/Mr. Dellaportas
                                                     Dellaportas                1              Ms. O.
                                                                                               Ms.    Genger -- Cross/Mr.
                                                                                                   0. Genger    Cross/Mr. Dellaportas
                                                                                                                          Dellaportas
 2
 2            THECOURT:
              THE    COURT:Her   Hermother
                                       motherstarted
                                                 startedan anaction
                                                              action in
                                                                      in the    22   she was
                                                                                     she  was here.
                                                                                               here.
 3
 3     Surrogate's
        Surrogate's Court
                      Court and
                             and asas aa result
                                          result of of that
                                                        that action,
                                                               action,          3
                                                                                3          THE
                                                                                           THE COURT:
                                                                                                  COURT: Let'sLet's move
                                                                                                                      move on. on.
 44    apparently, the
       apparently,  the defendants
                         defendants who
                                      who were
                                             were obligated
                                                     obligated to  to make
                                                                      make      44  Q And you oppose giving any of this money to the Orly
                                                                                    Q
 5
 5     certain payments
       certain payments by by virtue
                              virtue ofof the
                                          the settlement
                                                settlement agreement
                                                               agreement        5  Trust correct?
                                                                                 5 Trust correct?
 66   stopped making the payments.     That's what I've been told and
                           payments. That's                                     66  A I oppose
                                                                                    A    I opposewhat?
                                                                                                     what?
 77    II assume
          assume nobody
                   nobody disputes
                             disputes that.        Let's move
                                          that. Let's      move on. on.         77         THE    COURT:Well
                                                                                           THE COURT:         Wellsheshehad
                                                                                                                         hadsigned
                                                                                                                               signed aa settlement
                                                                                                                                           settlement
 88   Q What do you understand your
      Q                                  your mother
                                                mother suing
                                                           suing about
                                                                   about --
                                                                          --    88  agreement counselor which precluded any of that money from
 99           THE COURT:
              THE    COURT: Do you know what your mother is seeking             99  going to the Orly Trust okay so that's a position saying the
10
10     what relief
       what   relief she's
                      she's seeking
                            seeking in in the
                                            the Surrogate's
                                                  Surrogate's Court.
                                                                   Court.      10    money should
                                                                                     money   should not
                                                                                                     not go
                                                                                                         go to
                                                                                                             to the
                                                                                                                the Orly
                                                                                                                     Orly Trust
                                                                                                                           Trust let's
                                                                                                                                    let's move
                                                                                                                                           move on.on.
11
11            THE WITNESS:
              THE    WITNESS: II don't don't remember.
                                                remember.                      11   Q Why
                                                                                    Q    Whydo  doyou
                                                                                                   youoppose
                                                                                                        oppose it? it?
12
12            THECOURT:
              THE    COURT:   I'mI'm
                                   notnotsure
                                           sureI Iunderstand
                                                   understandthatthat either
                                                                      either   12
                                                                               12          THE    COURT:I Isuspect
                                                                                           THE COURT:           suspectit's
                                                                                                                         it'sopposed
                                                                                                                               opposed so  so she can
13
13     myself but
       myself    but go
                     go ahead.
                          ahead.                                               13
                                                                               13    collect that
                                                                                     collect  that money
                                                                                                   money here
                                                                                                           here let's
                                                                                                                  let's move
                                                                                                                         move on. on.
14
14    Q You have no idea what she's seeking have you read her
      Q                                                                        14
                                                                               14          MR. DELLAPORTAS:
                                                                                           MR.    DELLAPORTAS:I'm         I'msorry
                                                                                                                                sorryyouyou suspect.
                                                                                                                                             suspect.
    pleading?
15 pleading?
15                                                                             15
                                                                               15          THE
                                                                                           THE COURT:
                                                                                                  COURT: That That that's
                                                                                                                      that's the
                                                                                                                              the reason.
                                                                                                                                   reason.
16
16    A II think
      A      think II looked
                       looked at
                               at it.
                                   it.                                         16
                                                                               16          MR. DELLAPORTAS:
                                                                                           MR.    DELLAPORTAS: I didn't I legitimately don't
17
17            THE COURT:
              THE    COURT: Well you were served with some papers I            17
                                                                               17    understand.
                                                                                     understand.
18
18     take it.
       take  it.                                                               18
                                                                               18          THE    COURT:The
                                                                                           THE COURT:         Thereason
                                                                                                                    reasonisisshe'd
                                                                                                                                she'drather
                                                                                                                                       rather get
                                                                                                                                               get the
19
19            MR. BOWEN:
              MR.    BOWEN: No your Honor hasn't been served Judge.            19
                                                                               19    money from
                                                                                     money   from your
                                                                                                   your client
                                                                                                         client than
                                                                                                                 than under
                                                                                                                        under thethe terms
                                                                                                                                      terms of of that
                                                                                                                                                  that
20
20            MR.HERSCHMANN:
              MR.    HERSCHMANN:          JustJust  filingstops
                                                 filing     stopspayment.
                                                                  payment.     20
                                                                               20    settlement.
                                                                                     settlement.
21
21            MR. BOWEN:
              MR.    BOWEN: They  They haven't
                                          haven't served
                                                      served herher yet
                                                                     yet --
                                                                          --   21
                                                                               21          MR. DELLAPORTAS:
                                                                                           MR.    DELLAPORTAS: II don't think they're mutually
22
22            THECOURT:
              THE    COURT:      There'sbeen
                              There's      beena afiling
                                                    filingbut
                                                            butno
                                                                no service
                                                                    service    22
                                                                               22    exclusive your
                                                                                     exclusive   your Honor.
                                                                                                       Honor.
23
23     yet.
       yet.                                                                    23
                                                                               23          MR. HERSCHMANN:
                                                                                           MR.    HERSCHMANN: We accept we're entitled to all
24
24            MR. HERSCHMANN:
              MR.    HERSCHMANN: Right.       Right.                           24
                                                                               24    the damages
                                                                                     the damages they
                                                                                                    they caused
                                                                                                         caused thethe we
                                                                                                                        we finally
                                                                                                                             finally stipulate
                                                                                                                                        stipulate toto
25
25            THE COURT: Let's move on.
              THE    COURT:      Let's    move     on.                         25
                                                                               25    something    they agree
                                                                                     something they agree to.  to.
26
26            MR. DELLAPORTAS:
              MR.    DELLAPORTAS: There was I was copied on an                 26
                                                                               26          MR. DELLAPORTAS:
                                                                                           MR.    DELLAPORTAS:          SoSo   you'resustaining
                                                                                                                           you're      sustaining the
                                                                                                                                                    the


                                                                 Page 779                                                                      Page 781
                                                                                                                                               Page 781

 1
 1              Ms. O.
                Ms.      Genger -- Cross/Mr.
                      0. Genger      Cross/Mr. Dellaportas
                                                     Dellaportas                1             Ms. O.
                                                                                              Ms.       Genger -- Cross/Mr.
                                                                                                    0. Genger       Cross/Mr. Dellaportas
                                                                                                                                   Dellaportas
 2
 2     e-mail from
       e-mail    from Mrs.
                        Mrs. Genger's
                              Genger's counsel
                                           counsel --  --                       22    objection your
                                                                                      objection    your Honor.
                                                                                                          Honor.
 3
 3             THECOURT:
               THE     COURT:HaveHaveyouyouread
                                              readthe
                                                    thepapers
                                                        papers that
                                                                 that your      3
                                                                                3            THE
                                                                                             THE COURT:
                                                                                                     COURT: No objection. II concluded
                                                                                                                                 concluded sometime ago
 44    mother filed
       mother     filed in
                        in Surrogate's
                           Surrogate's Court.
                                           Court.                               44   this afternoon
                                                                                     this  afternoon that
                                                                                                        that is,
                                                                                                             is, based
                                                                                                                 based onon your
                                                                                                                            your bringing
                                                                                                                                    bringing to  to my
                                                                                                                                                    my
 5
 5             THE WITNESS:
               THE     WITNESS: II don't
                                      don't think
                                               think II have.
                                                          have.                 55   attention the fact that the agreement precluded any of that
 66            THE COURT:
               THE     COURT: Next
                                 Next question.
                                         question.                              66  money from going to the Orly Trust because that was included
 77   Q Do you understand what the nature of proceeding
      Q                                                   proceeding is    is 77     in
                                                                                     in order
                                                                                         order to
                                                                                                to preserve
                                                                                                    preserve aa claim
                                                                                                                  claim for
                                                                                                                         for damages
                                                                                                                              damages within
                                                                                                                                           within the
                                                                                                                                                    the
 88 about?
    about?                                                                      8     framework
                                                                                      framework      of
                                                                                                     of  this
                                                                                                         this litigation
                                                                                                              litigation   now
                                                                                                                           now    let's
                                                                                                                                  let's  move
                                                                                                                                         move     on.
                                                                                                                                                  on.
 99            MR. BOWEN:
               MR.    BOWEN: AskedAsked and and answered.
                                                  answered.                     99   Q Now you had brought that case on behalf of the Orly
                                                                                     Q
10
10    A I don't
      A     I don'tremember
                      remember -- --                                               Trust correct?
                                                                               10 Trust   correct?
11
11             THE COURT:
               THE     COURT: II don't
                                   don't really
                                         really understand   the  nature
                                                understand the nature of  of   11
                                                                               11            MR. BOWEN:
                                                                                             MR.    BOWEN: Objection.
                                                                                                                  Objection.
12
12    it but if you want to there should be no dispute about that 12           12            THE     COURT:      Counsel,
                                                                                             THE COURT: Counsel, whoever   whoeverwas wasaaplaintiff
                                                                                                                                             plaintiff in
13
13     we  can    stipulate
       we can stipulate --   --                                                13
                                                                               13     that case   was   a  plaintiff  in that
                                                                                      that case was a plaintiff in that case.  case.
14
14             MR. DELLAPORTAS:
               MR.    DELLAPORTAS: Fair        Fair enough
                                                     enough --    --           14
                                                                               14    Q And
                                                                                     Q    Andyou're
                                                                                                you'rebringing
                                                                                                         bringingthis
                                                                                                                   thiscase
                                                                                                                        caseononbehalf
                                                                                                                                  behalf ofof the
                                                                                                                                               the Orly
                                                                                                                                                   Orly
15
15             THE COURT:
               THE     COURT: What
                                 What relief
                                        relief is
                                               is the
                                                  the mother
                                                      mother seeking
                                                                seeking in in 15   Trust?
                                                                               15 Trust?
16
16     Surrogate's
       Surrogate's Court.
                       Court.                                                  16
                                                                               16            THE
                                                                                             THE COURT:
                                                                                                     COURT: That's
                                                                                                                 That's correct.
                                                                                                                          correct.
17
17             MR. DELLAPORTAS:
               MR.    DELLAPORTAS: The mother is seeking   seeking $33         17
                                                                       million 17
                                                                   $33 million       Q Are
                                                                                     Q    Are
                                                                                            youyouseeking
                                                                                                    seekingmoney
                                                                                                             moneyhere
                                                                                                                     hereon
                                                                                                                          onbehalf
                                                                                                                             behalfof of yourself
                                                                                                                                         yourself or on
18
18    paid that
      paid   that was
                   was paid
                        paid in
                             in cement
                                cement of of the
                                             the dispute
                                                  dispute of of the
                                                                 the Orly          behalfof
                                                                       Orly 18 behalf      ofthe
                                                                                               the Orly
                                                                                                    Orly Trust?
                                                                                                           Trust?
19
19    Trust shares actually be deposited with the Orly Trust seems 19          19            THE     COURT:AsAsI Iunderstand
                                                                                             THE COURT:                understandititthe
                                                                                                                                       the plaintiff
                                                                                                                                            plaintiff in
20
20     reasonable.
       reasonable.                                                             20
                                                                               20    this case
                                                                                     this  case is
                                                                                                 is seeking
                                                                                                    seeking money
                                                                                                              money on  on behalf
                                                                                                                           behalf of of the
                                                                                                                                         the trust
                                                                                                                                              trust and
                                                                                                                                                     and
21
21             THECOURT:
               THE     COURT:The Thedespite
                                      despitethethefact
                                                     factthe
                                                          the settlement
                                                                settlement 21  21    derivatively on we half
                                                                                                           half on
                                                                                                                on behalf
                                                                                                                    behalf of
                                                                                                                           of the
                                                                                                                               the corporation.
                                                                                                                                   corporation. Let's
22
22     agreement precludes
       agreement      precludes that.
                                  that.                                        22
                                                                               22     move on.
                                                                                      move    on.
23
23             MR. DELLAPORTAS:
               MR.    DELLAPORTAS: Yes.        Yes.                            23
                                                                               23            MR. BOWEN:
                                                                                             MR.    BOWEN: That's That's correct,
                                                                                                                          correct, Judge.
                                                                                                                                      Judge.
24
24             THE COURT:
               THE     COURT: Okay so she's seeking to vary the terms 24       24            MR. DELLAPORTAS:
                                                                                             MR.    DELLAPORTAS: There's no individual claims
25
25     of the
       of the settlement
                settlement agreement
                              agreement let's
                                            let's move
                                                   move on. on.                25
                                                                               25     pending.
                                                                                      pending.
26
26             MR. BOWEN:
               MR.    BOWEN: They should have asked the mother when 26         26            MR. HERSCHMANN:
                                                                                             MR.    HERSCHMANN:Summary      Summaryjudgment
                                                                                                                                          judgment --   --


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